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         EXHIBIT 24
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From:                   Jack Bowen <jbowen@menloschool.org>
To:                     Leslie Wilson <leslie@leslieqwilson.com>;John Wilson <john@hyannisportcapital.com>
Sent:                   10/14/20131:01:51 PM
Subject:                Johnny On Camera



Hi Leslie and John,

In the spirit of trying to keep you 'in the loop' I took this photo of Johnny, mid-interview. He was one of the 3
boys I chose for the interview and he was great: the only one to field more than one question. The interviewer
said that the interview was the easiest he'd had in his 2 years doing this.

Johnny really stepped up in the MA game as did all of the boys. A serious thriller, and all for the league
championship title.

And on one side-note, I know he's working on the USC coach regarding admission there: please let me know if
there's anything I can do on that front to help with that process.

Hope you guys are well. Johnny seems happy and healthy.

Best
Jack




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